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AO 106 (Rev. 04/10) Application for a Search Warrant

 

UNITED STATES DISTRICT COURT

EVie sz

for the
Southern District of Ohio

In the Matter of the Search of

(Briefly describe the property to be searched

in a wy
or identify the person by name and address) Case No. s} 4 4 id }

Information associated with the Twitter account

@IAMTHESPOOKSTER, with User ID 2258794200 that
is stored at premises controlled by Twitter, Inc.

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

SEE ATTACHMENT A

located in the Northern District of California , there is now concealed (identify the
person or describe the property to be seized):

SEE ATTACHMENT B

 

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
evidence of a crime;
a contraband, fruits of crime, or other items illegally possessed:
me property designed for use, intended for use, or used in committing a crime;
C1 a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description

The application is based on these facts:

See Attached Affidavit

cs Continued on the attached sheet.

O Delayed notice of _ days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the,attached sheet.

GLE

v Appli S$ signature

P. Andrew Gragan;-Special Agent, FBI

 

Pinte name laid cies

    

Sworn to before me and signed in my presence.

Date: ——_(08/23/2019

 

\\ ghes >, HOA
City and state: Dayton, Ohio _ Hon. Michael J. Newman, U.S! Magistrate Judge

 

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO

IN THE MATTER OF THE SEARCH OF
INFORMATION ASSOCIATED WITH THE
TWITTER ACCOUNT Case No.
@IAMTHESPOOKSTER, WITH USER ID
2258794200, THAT IS STORED AT

PREMISES CONTROLLED BY TWITTER,

INC.

 

 

AFFIDAVIT IN SUPPORT OF
AN APPLICATION FOR A SEARCH WARRANT

I, P. Andrew Gragan, being first duly sworn, hereby depose and state as follows:

INTRODUCTION AND AGENT BACKGROUND

1. I make this affidavit in support of an application for a search warrant for
information associated with Twitter account @iamthespookster, with user ID 2258794200
(hereinafter referred to as the “ACCOUNT”) that is stored at premises owned, maintained,
controlled, or operated by Twitter, Inc. (“Twitter”), a social-networking company headquartered
in San Francisco, California. The information to be searched is described in the following
paragraphs and in Attachment A. This affidavit is made in support of an application for a search
warrant under 18 U.S.C. §§ 2703(a), 2703(b)(1)(A), and 2703(c)(1)(A) to require Twitter to
disclose to the government records and other information in its possession, pertaining to the
Twitter account.

2. Iam a Special Agent with the Federal Bureau of Investigation (“FBI”), Cincinnati
Division. I have been employed as a Special Agent with the FBI since May 2016. I have
received training in national-security investigations and criminal investigations, and I have
conducted investigations related to international terrorism, white-collar crimes, drug trafficking,

public corruption, firearms, and violent crimes. As part of these investigations, I have

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participated in physical surveillance and records analysis, worked with informants, conducted
interviews, served court orders and subpoenas, and executed search warrants.

3. The facts in this affidavit come from my personal observations, my training and
experience, and information obtained from other agents and witnesses. This affidavit is intended
to show merely that there is sufficient probable cause for the requested warrant and does not set
forth all of my knowledge about this matter.

4, Based on my training and experience and the facts as set forth in this affidavit, there
is probable cause to believe that violations of 18 U.S.C. § 922(g)(3) (Possession of a firearm by
an unlawful user of a controlled substance or by a person addicted to a controlled substance), 18
U.S.C. § 922(a)(6) (false statement regarding firearms), 18 U.S.C. § 924(a)(1)(A) (false statement
regarding firearms), 18 U.S.C. § 1001 (false statement), and 21 U.S.C. § 844 (unlawful possession
of a controlled substance), have been committed by Conner BETTS (“BETTS”). There is also
probable cause to search the information described in Attachment A for evidence of these crimes,
as described in Attachment B.

a. This Court has jurisdiction to issue the requested warrant because it is “a court of
competent jurisdiction” as defined by 18 U.S.C. § 2711. Specifically, the Court of the Southern
District of Ohio is “a district court of the United States ... that has jurisdiction over the offense
being investigated.” 18 U.S.C. § 271 1(3)(A)Q).

PROBABLE CAUSE

6. On or about August 4, 2019, at approximately 1:00 a.m., Dayton Police Officers

responded to an active shooter in the 400 block of East Fifth Street in Dayton, Ohio. Officers

observed a male, later identified as BETTS, actively engaged in shooting into a crowd of
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individuals located at the 400 block of East Fifth Street in Dayton, Ohio, a city in the Southern
District of Ohio.

7. The Officers were able to return fire towards the suspect in order to stop the
threat. Multiple shots were fired, and BETTS was killed. At this time ten (10) people, including
BETTS, are deceased resulting from the shooting, along with multiple individuals injured. The
injured were transported to multiple local area hospitals. BETTS was located on the scene
wearing body-armor and headphones. During a search of the suspect, a black Samsung $8 Active
cellular telephone was located in his back pocket. A search warrant from the Dayton Municipal
Court was obtained to search the content of this cellular telephone. The phone number (937)
956-3637 was found to be the call number assigned to the phone. Officers were able to identify
the weapon as an assault rifle style firearm.

8. In the morning hours of August 4, 2019, the FBI was able to identify the shooter
at the scene based on finger prints. The shooter was identified as BETTS.

9. On or about August 4, 2019 a Bureau of Alcohol, Tobacco, Firearms and
Explosives (ATF) Firearms Trace was conducted on the firearm used by BETTS, further
described as an Anderson AM-15 5.56mm with serial number 18309695. The purchaser was
Connor Stephen BETTS, with an address of 2250 Creekview Place, Bellbrook, Ohio, date of
birth (DOB) of October 28, 1994 and a Social Security Number (SSN) with the last four digits of
6211. Ohio Bureau of Motor Vehicle (BMV) records reflect the same address, DOB, and last
four digits of the SSN for BETTS.

10. Records obtained from a Dayton-area Federal Firearm Licensed dealer included
an ATF Form 4473, which based on my training and experience | know is required in order to

complete the transaction of purchasing a firearm from a licensed dealer, for an Anderson Mfg
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model AM-15 receiver with serial number 18309695, which, based on information provided by
ATF, was manufactured outside the state of Ohio. The transferee/buyer was listed on the ATF
Form 4473 as Connor Stephen BETTS with the aforementioned address, DOB, and SSN.
BETTS provided (937) 956-3637 and cnnrbetts477@gmail.com as his contact information. The
transfer of the firearm from the dealer to BETTS was completed on April 12, 2019.

11. Box lle of ATF Form 4473 states, “Are you an unlawful user of, or addicted to,
marijuana or any depressant, stimulant, narcotic drug, or any other controlled substance?
Warning: The use or possession of marijuana remains unlawful under Federal law regardless of
whether it has been legalized or decriminalized for medicinal or recreational purposes in the state
where you reside.” The form contained warnings concerning the consequences of answering the
questions on the form falsely. BETTS’s Form 4473 was checked “No” in response to the
question in box Ile.

12. Records from the same FFL dealer also showed an ATF Form 4473 for a Taurus
Pt.111 G2C 9mm pistol with serial number TLR08219 was purchased by BETTS on November
23, 2018. The response to box 1le was checked “No.”

Es: On or about August 4, 2019, Dayton Police Officers executed a search warrant,
issued by the Dayton Municipal Court, on a 2007 Toyota Corolla bearing Ohio license plate
number GNM1586. The vehicle was parked near the scene of the shooting and is believed to
have been used by BETTS for transportation to the scene and for storage of the weapon he used
in the shooting. Ohio BMV records show BETTS’s father as the registered owner. Among
other items, officers recovered a H&R 12 gauge Pardner Pump shotgun.

14. On or about August 4, 2019 an ATF Firearms Trace was conducted on the

shotgun, further described as a Hawk Industries Inc. H&R Pardner Pump 12 gauge shotgun with
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serial number NZ897689. The purchaser was Connor Stephen BETTS, with an address of 2250
Creekview Place, Bellbrook, Ohio, date of birth (DOB) of October 28, 1994 and last four of
Social Security Number (SSN) 6211, identifying information consistent with the aforementioned
BMV and other records.

15. Records obtained from a Dayton area Federal Firearm Licensed (FFL) dealer
included an ATF Form 4473 for a H&R Pardner 12 gauge shotgun with serial number
NZ897689. The transferee/buyer listed on the ATF Form 4473 was Connor Stephen BETTS
with the aforementioned address, DOB, and SSN. BETTS’s phone number on the form is the
same number listed on the form mentioned in paragraph 10 above. The transfer of the firearm
from the dealer to BETTS was completed on June 21, 2019. BETTS’s Form 4473 was checked
“No” in response to the question in box Ile.

16. On or about August 4, 2019, BETTS’s corpse was taken to the Montgomery
County Coroner for autopsy. During the autopsy, Dayton Police Officers removed property from
the pockets of BETTS, including an approximate three inch long black straw with a baggie
attached to the end of it by a rubber band. Inside the baggie was a white powder, which the
seizing officers, based on their training and experience, believe to be cocaine based on its
appearance. The suspected cocaine was submitted to the Miami Valley Regional Crime Lab
(MVRCL) for testing. MVRCL reported, on or about August 9, 2019, that the substance was
cocaine.

Ly On or about August 4, 2019, the FBI interviewed a friend of BETTS, who was
with BETTS at the scene of the shooting and was shot and wounded by BETTS, and who for the
purpose of this affidavit will be referred to as C.B. C.B. advised that around July 26 to 28, 2019,

BETTS indicated to C.B. that he had relapsed with cocaine and it was not interacting well. C.B.
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also stated that BETTS had also invited him to go the range and shoot his AR, which C.B. did
not do.

18. On or about August 4, 2019, a large national retail store, with a Federal Firearms
License to deal in firearms, provided information to the FBI of weapon purchases made by
BETTS. The weapons are further described as an H&R 1228 Pardner 12 gauge shotgun with
serial number NZ682493, purchased on May 31, 2013; a DPMS Panther Arms, Inc, M4 Sportical
.223-5.56 caliber rifle, with serial number L4017969, purchased on November 26, 2013; anda
Mossberg 702 Plinkster 22LR rifle with serial number EML4019811, purchased on May 3, 2015.
Records obtained from the retail store included ATF Form 4473s for all three firearms. Box 1 le
was checked “No” on all three Form 4473s.

Ly. On or about August 5, 2019, the FBI interviewed a high school girlfriend of
BETTS, who for the purpose of this affidavit will be referred to as H.S. H.S. dated BETTS off
and on in high school. She advised the FBJ that BETTS had abused a number of drugs,
including Adderall, Xanax, cocaine, and marijuana. H.S. indicated that BETTS purchased pills
and cocaine from a manager at the restaurant BETTS worked at that time. H.S. advised that
BETTS had told others he could sell cocaine to them, and that during 2013 to 2014, BETTS
talked about having hallucinations and feeling like bugs were under his skin.

20. On or about August 5, 2019, the FBI interviewed another former, but more recent
girlfriend of BETTS, who for the purpose of this affidavit will be referred to as C.J. C.J. knew
BETTS since at least January 2019, having been classmates at a local college. C.J. dated
BETTS from at least March 2019, until they severed their relationship in or about May 2019.

C.J. indicated that BETTS was previously addicted to methamphetamine and was a recovering
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meth addict. BETTS had told her he quit “cold turkey” after going on vacation with his family
and he was unable to obtain illegal narcotics.

21. On or about August 4 to 7, 2019, the FBI interviewed multiple individuals
associated with BETTS. A co-worker, who for the purpose of this affidavit will be referred to as
N.G., advised he was aware BETTS used to have a methamphetamine addiction approximately
three years ago. A co-worker, who for the purpose of this affidavit will be referred to as K.G.,
advised that BETTS had told K.G. that he used to have a drug abuse problem during high
school. When K.G. asked what type of drugs BETTS was abusing, BETTS mentioned huffing
and cocaine. A bandmate of BETTS, who for the purpose of this affidavit will be referred to as
J.C., advised that BETTS had told J.C. he used to use methamphetamine. A co-worker of
BETTS, who for the purpose of this affidavit will be referred to as C.W., advised that BETTS
had done methamphetamine in the past. C.W. believed BETTS had been clean for approximately
four years. A co-worker of BETTS, who for the purpose of this affidavit will be referred to as
A.G., believed that BETTS had a history of drug abuse. A.G. also advised that BETTS had a
Twitter account. A.G. showed the interviewers the ACCOUNT on his phone and indicated that
the ACCOUNT was BETTS’s Twitter account.

22, On or about August 7, 2019, Twitter responded to a search warrant issued by the
Dayton Municipal Court for the ACCOUNT. Pursuant to this warrant, Twitter provided account
information, direct messages, IP addresses, and other information. The email address
cnnrbetts477@gmail.com was provided as the email for the ACCOUNT.

23. On or about August 7, 2019, the FBI interviewed an acquaintance of BETTS,
who for the purpose of this affidavit will be referred to as J.E. J.E. indicated that he and BETTS

hung out at least once a month from 2014 through 2017. J.E. indicated that BETTS was hardly
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ever sober during this time and used heroin, cocaine, methamphetamine, and prescription
narcotics. J.E. said that BETTS would often show up to his home “messed up.”

24. On or about August 7, 2019, the FBI interviewed a former co-worker of BETTS,
who for the purpose of this affidavit will be referred to as E.S. E.S. advised that on or about
August 2, 2019, at approximately 4:45p.m., BETTS came into her place of employment and
bought a beer. Before he left, BETTS made the comment, “I just popped a xanny, we’ll see how
it goes.” Based on my training and experience, I know that the term “xanny” is often used as
street terminology for Xanax, a controlled substance.

25, On or about August 7, 2019, the FBI interviewed an acquaintance of BETTS,
who for the purpose of this affidavit will be referred to as J.E. J.E. advised that during the
timeframe he and BETTS were acquainted, which was late 2018, J.E. believed BETTS was
using various drugs, including cocaine, methamphetamine, heroin, and molly.

26. On or about August 8, 2019, the FBI interviewed a friend of BETTS, who for the
purpose of this affidavit will be referred to as E.K. E.K. informed the FBI that he and BETTS
had done “hard drugs,” marijuana, and acid together four to five times a week during 2014 to
2015.

2, On or about August 8, 2019, E.K. was interviewed again by the FBI. E.K.
acknowledged his purchase for BETTS of the following items used by BETTS in the August 4,
2019 shooting in Dayton: (1) body armor, (2) upper receiver of the AM-15 weapon, and (3) the
100-round double drum magazine. E.K. indicated that he purchased these items for BETTS —
and stored them in E.K’s apartment — to assist BETTS in hiding them from BETTS’s parents.
E.K. indicated that approximately 10 weeks ago while in E.K.’s apartment, E.K. watched and

helped BETTS assemble the AR-15 weapon used by BETTS in the August 4, 2019 shooting in
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Dayton. E.K. indicated that upon arrival of the drum magazine approximately 6 to 8 weeks ago,
BETTS retrieved the assembled weapon, including the drum magazine, and took possession of it
and the body armor at that time.

28. E.K. also informed the FBI that he and BETTS used an encrypted messaging
application to communicate. E.K. advised that BETTS also utilized Twitter and other social
media platforms.

29. Based on my training and experience, I am familiar with the process by which
individuals purchase, obtain, possess, and sell firearms and ammunition, and how they obtain,
possess, sometimes grow, and use controlled substances. I know that individuals engaged in
these activities often utilize email and other online and social media platforms and websites to
communicate, including purchasing and planning the purchase of firearms and drugs, arranging
the subsequent sale and distribution of firearms and drugs, and discussing the use thereof. I also
know that individuals engaged in illegal activity often maintain multiple email and social media
accounts.

BACKGROUND RELATING TO TWITTER

30. | Twitter owns and operates a free-access social-networking website of the same
name that can be accessed at http://www.twitter.com. Twitter allows its users to create their own
profile pages, which can include a short biography, a photo of themselves, and location
information. Twitter also permits users create and read 140-character messages called “Tweets,”
and to restrict their “Tweets” to individuals whom they approve. These features are described in
more detail below.

als Upon creating a Twitter account, a Twitter user must create a unique Twitter

username and an account password, and the user may also select a different name of 20
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characters or fewer to identify his or her Twitter account. The Twitter user may also change this
username, password, and name without having to open a new Twitter account.

345 Twitter asks users to provide basic identity and contact information, either during
the registration process or thereafter. This information may include the user’s full name, e-mail
addresses, physical address (including city, state, and zip code), date of birth, gender, hometown,
occupation, and other personal identifiers. For each user, Twitter may retain information about
the date and time at which the user’s profile was created, the date and time at which the account
was created, and the Internet Protocol (“IP”) address at the time of sign-up. Because every
device that connects to the Internet must use an IP address, IP address information can help to
identify which computers or other devices were used to access a given Twitter account.

33. A Twitter user can post a personal photograph or image (also known as an
“avatar’) to his or her profile, and can also change the profile background or theme for his or her
account page. In addition, Twitter users can post “bios” of 160 characters or fewer to their profile
pages.

34, Twitter also keeps IP logs for each user. These logs contain information about the
user’s logins to Twitter including, for each access, the IP address assigned to the user and the
date stamp at the time the user accessed his or her profile.

35. As discussed above, Twitter users can use their Twitter accounts to post “Tweets”
of 140 characters or fewer. Each Tweet includes a timestamp that displays when the Tweet was

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posted to Twitter. Twitter users can also “favorite,” “retweet,” or reply to the Tweets of other
users. In addition, when a Tweet includes a Twitter username, often preceded by the @ sign,

Twitter designates that Tweet a “mention” of the identified user. In the “Connect” tab for each

account, Twitter provides the user with a list of other users who have “favorited” or “retweeted”

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the user’s own Tweets, as well as a list of all Tweets that include the user’s username (i.e., a list
of all “mentions” and “replies” for that username).

36. Twitter users can include photographs or images in their Tweets. Each Twitter
account also is provided a user gallery that includes images that the user has shared on Twitter,
including images uploaded by other services.

Bs Twitter users can also opt to include location data in their Tweets, which will
reveal the users’ locations at the time they post each Tweet. This “Tweet With Location”
function is off by default, so Twitter users must opt in to the service. In addition, Twitter users
may delete their past location data.

38. When Twitter users want to post a Tweet that includes a link to a website, they
can use Twitter’s link service, which converts the longer website link into a shortened link that
begins with http://t.co. This link service measures how many times a link has been clicked.

39. A Twitter user can “follow” other Twitter users, which means subscribing to
those users’ Tweets and site updates. Each user profile page includes a list of the people who are
following that user (i.e., the user’s “followers” list) and a list of people whom that user follows
(i.e., the user’s “following” list). Twitters users can “unfollow” users whom they previously
followed, and they can also adjust the privacy settings for their profile so that their Tweets are
visible only to the people whom they approve, rather than to the public (which is the default
setting). A Twitter user can also group other Twitter users into “lists” that display on the right
side of the user’s home page on Twitter. Twitter also provides users with a list of “Who to
Follow,” which includes a few recommendations of Twitter accounts that the user may find
interesting, based on the types of accounts that the user is already following and who those

people follow.

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40. In addition to posting Tweets, a Twitter user can also send Direct Messages
(DMs) to one of his or her followers. These messages are typically visible only to the sender and
the recipient, and both the sender and the recipient have the power to delete the message from the
inboxes of both users. As of January 2012, Twitter displayed only the last 100 DMs for a
particular user, but older DMs are stored on Twitter’s database.

41. Twitter users can configure the settings for their Twitter accounts in numerous
ways. For example, a Twitter user can configure his or her Twitter account to send updates to the
user’s mobile phone, and the user can also set up a “sleep time” during which Twitter updates
will not be sent to the user’s phone.

42. Twitter includes a search function that enables its users to search all public
Tweets for keywords, usernames, or subject, among other things. A Twitter user may save up to
25 past searches.

43. ‘Twitter users can connect their Twitter accounts to third-party websites and
applications, which may grant these websites and applications access to the users’ public Twitter
profiles.

44. If a Twitter user does not want to interact with another user on Twitter, the first
user can “block” the second user from following his or her account.

45. In some cases, Twitter users may communicate directly with Twitter about issues
relating to their account, such as technical problems or complaints. Social-networking providers
like Twitter typically retain records about such communications, including records of contacts
between the user and the provider’s support services, as well as records of any actions taken by

the provider or user as a result of the communications. Twitter may also suspend a particular user

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for breaching Twitter’s terms of service, during which time the Twitter user will be prevented
from using Twitter’s services.

46. As explained herein, information stored in connection with a Twitter account may
provide crucial evidence of the “who, what, why, when, where, and how” of the criminal conduct
under investigation, thus enabling the United States to establish and prove each element or
alternatively, to exclude the innocent from further suspicion. In my training and experience, a
Twitter user’s account information, IP log, stored electronic communications, and other data
retained by Twitter, can indicate who has used or controlled the Twitter account. This “user
attribution” evidence is analogous to the search for “indicia of occupancy” while executing a
search warrant at a residence. For example, profile contact information, communications,
“tweets” (status updates) and “tweeted” photos (and the data associated with the foregoing, such
as date and time) may be evidence of who used or controlled the Twitter account at a relevant
time. Further, Twitter account activity can show how and when the account was accessed or
used. For example, as described herein, Twitter logs the Internet Protocol (IP) addresses from
which users access their accounts along with the time and date. By determining the physical
location associated with the logged IP addresses, investigators can understand the chronological
and geographic context of the account access and use relating to the crime under investigation.
Such information allows investigators to understand the geographic and chronological context of
Twitter access, use, and events relating to the crime under investigation. Additionally, Twitter
builds geo-location into some of its services. If enabled by the user, physical location is
automatically added to “tweeted” communications. This geographic and timeline information
may tend to either inculpate or exculpate the Twitter account owner. Last, Twitter account

activity may provide relevant insight into the Twitter account owner’s state of mind as it relates
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to the offense under investigation. For example, information on the Twitter account may
indicate the owner’s motive and intent to commit a crime (e.g., information indicating a criminal
plan) or consciousness of guilt (e.g., deleting account information in an effort to conceal
evidence from law enforcement).

47. Therefore, the computers of Twitter are likely to contain all the material described
above, including stored electronic communications and information concerning subscribers and
their use of Twitter, such as account access information, transaction information, and other
account information.

INFORMATION TO BE SEARCHED AND ITEMS TO BE SEIZED

48. — | anticipate executing this warrant under the Electronic Communications Privacy
Act, in particular 18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and 2703(c)(1)(A), by using the warrant
to require Twitter to disclose to the government copies of the records and other information
(including the content of communications) particularly described in Section I of Attachment B.
Upon receipt of the information described in Section I of Attachment B, government-authorized

persons will review that information to locate the items described in Section II of Attachment B.

CONCLUSION

49. Based on the foregoing, there is probable cause to believe that violations of 18
U.S.C. § 922(g)(3) (Possession of a firearm by an unlawful user of a controlled substance or by a
person addicted to a controlled substance), 18 U.S.C. § 922(a)(6) (false statement regarding
firearms), 18 U.S.C. § 924(a)(1)(A) (false statement regarding firearms), 18 U.S.C. § 1001 (false

statement), and 21 U.S.C. § 844 (unlawful possession of a controlled substance) have been

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committed. There is also probable cause to search the information described in Attachment A

for evidence of these crimes, as described in Attachment B.

50. ] request that the Court issue the proposed search warrant. Because the warrant
will be served on Twitter, which will then compile the requested records at a time convenient to
it, reasonable cause exists to permit the execution of the requested warrant at any time in the day
or night.

Respectfully submitted,
Vee Z2—
P. Andrew @fagan

Special Agent
Federal Bureau of Investigation

   
 

 

  
 

Subscribed and sworn to before me on August 23, 2019, in Dayton, Ohio.

HON. M |

an R
ASHAEL J. NEWMANG |
UNITED STATES MAGISTRATE JUDGE

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ATTACHMENT A
Property to Be Searched
This warrant applies to information associated with Twitter account @iamthespookster
with user ID 2258794200, that is stored at premises owned, maintained, controlled, or operated
by Twitter, Inc., a company headquartered at 1355 Market Street, Suite 900, San Francisco,

California 94103.
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ATTACHMENT B

Particular Things to be Seized

I. Information to be disclosed by Twitter, Inc.

To the extent that the information described in Attachment A is within the possession, custody,

or control of Twitter, Inc. (“Twitter”), including any messages, records, files, logs, or

information that have been deleted but are still available to Twitter, or have been preserved

pursuant to a request made under 18 U.S.C. § 2703(f), Twitter is required to disclose the

following information to the government for each account listed in Attachment A from January

1, 2013 to Present:

a.

All identity and contact information, including full name, e-mail address, physical
address (including city, state, and zip code), date of birth, gender, hometown,
occupation, and other personal identifiers;

All past and current usernames, account passwords, and names associated with
the account;

The dates and times at which the account and profile were created, and the
Internet Protocol (“IP’’) address at the time of sign-up;

All IP logs and other documents showing the IP address, date, and time of each
login to the account;

All data and information associated with the profile page, including photographs,
“bios,” and profile backgrounds and themes;

All “Tweets” and Direct Messages sent, received, “favorited,” or retweeted by the
account, and all photographs or images included in those Tweets and Direct

Messages;
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g. All information from the “Connect” tab for the account, including all lists of
Twitter users who have favorited or retweeted Tweets posted by the account, as
well as a list of all Tweets that include the username associated with the account
(i.e., “mentions” or “replies”);

h. All photographs and images in the user gallery for the account;

i. All location data associated with the account, including all information collected
by the “Tweet With Location” service;

iF All information about the account’s use of Twitter’s link service, including all
longer website links that were shortened by the service, all resulting shortened
links, and all information about the number of times that a link posted by the
account was clicked:

k. All data and information that has been deleted by the user;

iM A list of all of the people that the user follows on Twitter and all people who are

following the user (i.e., the user’s “following” list and “followers” list);

m. A list of all users that the account has “unfollowed” or blocked;

n. All “lists” created by the account;

Oo. All information on the “Who to Follow” list for the account;

p- All privacy and account settings;

q. All records of Twitter searches performed by the account, including all past

searches saved by the account;
r. All information about connections between the account and third-party websites

and applications;
II.

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S.

All records pertaining to communications between Twitter and any person
regarding the user or the user’s Twitter account, including contacts with support

services, and all records of actions taken, including suspensions of the account.

Information to be seized by the government

1.

All records on the Account described in Attachment A that relate to violations

of:

e 18 U.S.C. § 922(g)(3)
e 18 U.S.C. § 922(a)(6)

e 18 U.S.C. § 924(a)(1)(A)
e 18U.S.C. § 1001

e 21U.S.C.§ 844

and involve Connor Stephen BETTS (BETTS) since January 1, 2013, including:

a.

b,

Any information related to the purchase, use, or possession of firearms;

Any information related to the purchase, use, or sale of controlled substances;

Any information related to the types, amounts, and prices of controlled substances
or firearms purchased, used, or trafficked as well as dates, places, and amounts of
specific transactions;

Any information related to sources of controlled substances or firearms (including
names, addresses, phone numbers, or any other identifying information);

Any information recording BETTS’ schedule or travel from 2013 to the present;
All bank records, checks, credit card bills, account information, and other
financial records;

Records of Internet Protocol addresses used;

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h. Records of Internet activity, including firewall logs, caches, browser history and
cookies, “bookmarked” or “favorite” web pages, search terms that the user
entered into any Internet search engine, and records of user-typed web addresses;

i. Evidence indicating how and when the Twitter account was accessed or used, to
determine the chronological and geographic context of account access, use, and
events relating to the crime under investigation and to the Twitter account owner;

j. Evidence indicating the Twitter account owner’s state of mind as it relates to the
crime under investigation;

k. The identity of the person(s) who created or used the user ID, including records
that help reveal the whereabouts of such person(s);

|. The identity of the person(s) who communicated with the user ID, including
records that help reveal their whereabouts.

This warrant authorizes a review of electronically stored information, communications,
other records and information disclosed pursuant to this warrant in order to locate evidence,
fruits, and instrumentalities described in this warrant. The review of this electronic data may be
conducted by any government personnel assisting in the investigation, who may include, in
addition to law enforcement officers and agents, attorneys for the government, attorney support
staff, and technical experts. Pursuant to this warrant, the FBI may deliver a complete copy of the
disclosed electronic data to the custody and control of attorneys for the government and their

support staff for their independent review.
